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                            APPENDIX A
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                     APPENDIX A, TAB A
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                   '"!ICI1ASL lrlAoC""J$           ..JOHN R, YQUNO




                                                                   ReI              Engelhard - Tireworkers Litigation
                                Dear Jim:
                                          As I mentioned to you previously, for a number of months
                                Engelhard has been actively seeking a dismissal from the
                                tireworkers litigation pending in federal and state court in Penn-
                                sylvania on the ground that Engelhard's talc did not contain asbes-
                                tos. Our main support for this contention was an affidavit pre-
                                pared by an expert on talc, william Ashton, who reached this con-
                                clusion based on his review of numerous reports, studies and anal-
                                yses of the talc from Engelhard's only talc mine in vermont.
                                         Last week, plaintiffs' counsel in pennsylvania agreed to
                               dismiss Engelhard from the tireworkers litigation on this baeis. I
                               believe that a similar dismissal is warranted in all other juris-
                               dictions where a.tiraworkers lawsuit is pending. In this regard, I
                               am enclosing the following documents ~ertaining to our discussions
                               ~ith plaintiffs' counsel in pennsylvania:

                                                    a •. roy COver letter of Mar 17, 1989 to Jeff
                                               Schwart~,   plaintiffs' counsel 1n Philadelphia,
                                               enclosing the affidavits of William Ashton and
                                               Charles Carter;            .            .
                                                    b. the September 20, 198B affidavit of Charles
                                               Carter of Engelhard;




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    ,'.                                                                                                                                                BASF Fe 0014629
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                     APPENDIX A, TAB B
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                                              .JOHN ft. YOUNG
                                                                                                                                      (2l2) 7.01-3648




                                                            ReI               Engelhard - Tireworkers Litigation
                    Dear Jim;
                                As a follow-up.to my letter of August 30, 1909 enclosing
                    the A.ffida ....,lt of William. Ashton and related documents, enclose!i J.s
                    the Order of Judge Charles Weiner of the U.S. District Court for
                    the Eastern District of ~ennsylvania, foxmally dismissing Engelhard
                    and Eastern Magnesia Talc Co. from all 174 tireworkers cases ~iJed
                    in that Court.
                                                                                                                   Sincerely,


                                                                                                                   Ira J. DemJ:>row
                   James D. Griffin, Esq.
                   Blackwell Sanders Matheny Weary
                         &       'Lomba,;cl!                                      . .
                  Two Pershing square
                   2300 Main 5treet, Suite 1100
                   P.O. Box 419777
                  Kansas City, Missouri 64141-6777
                  f.§..DERAI{ EXPRESS
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                                                                                                                                                                                   .~"



                   (Enclosure]
                  co.                  Howard G. Sloane, Esq. (w/o enol.)
                                       Kevin Finnegan, Esq. (w/o encl.)
                                       Eric S. Sarner, Esq. (w/o encL.)




                                                                                                                                               BASF Fe 0014616
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                                                          october 2, 1989


      Peter J. Brodhead, Esq.
      1500 National city Bank Bldg.
      Cleveland, Ohio 44114
                        Re:    Engelhard/Eastern Magnesia Talc Co.-
                               Tireworkers Litigation
                               OUr File No:   15241-07866
      Dear Peter:
           I have atteDpted to reach you by telephone to discuss this
      aatter. In the event that we do not succeed in ~aking contaot by
      telephone, ! am enolosing a packet of documents for your review and
      consideration. After you have had an opportunity to review these
      Baterials, I would ask that you give me a oall to discuss this
      Batter.
           As you know, I represent Engelhard/Eastern Magnesia Talo Co.,
      which is naDed as a detendant in the Tireworker cases that you have
      filed in federal court.
          This letter is to request that you voluntarily disBiss
     EnC}elhard Corporation and its tormer WhOllr-owned sub8idiary,
     Eastern Maqnesia Talc CO. ("ENTALM) trOB the T reworker cases that
     you have tiled in tederal court. The basis for this request is
     that we have determined that the talc that was produced by ENTAL
     did not contain any aSbestos. Under these circUDStanoes, there
     does not seeD to be any basis to keep Engelhard or ENTAL as naaed
     defendants in these lawsuits. I aa sure that you can appreciate
     the substantial expense that is being incurred by Engelhard as a
     result of being naaed as a detendant in these lawsuits.
          There is precedent for By request. Engelhard and ENTAL were
     m,aed as defendants in 28 lawsuits brought on behalf of former
     tireworkers at the B.F. Goodrich plant in Oaks, PA. Those lawsuits
     were filed in the Eastern District of Pennsylvania. I aa enclosing
     the docUJIents and materials that were provided to Jeffrey C.
     Schwartz of the Allen L. Rothenberg law tirm in Philadelphia, PA.
     1 aa advised that after Mr. Schwartz had an opportunity to review
     these aaterials, he was satisfied that the talc produced by
     Engelhard and ENTAL did not contain any asbestos, and therefore,
     he voluntarily dis.issed Engelhard and ENTAL frOD the Tireworker




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Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 8 of 94 PageID: 13296

  ·..                    WESTON. HUl\D, FALLON, PAISLBY' C HOWLBY'



        Peter J. Brodhead, Esq.
        October 2, 1989
        Page 2

        litigation in Philadelphia.
             The documents enclosed are as follows:
             (1)   Affidavit of Charles D. Carter dated September 20, 1988;
             (2)   A copy of an Affidavit by Charles D. Carter dated June
                   19, 19891
             (3)   A copy of a report prepared by Dr. F. D. Pooley concern-
                   ing an examination of talc sallples taken fro. the Johnson
                   Talc Hine;
             (4)   A copy of an Affidavit prepared by Williu H. Ashton
                   dated Hay 8, 1989, with attached Exhibits A through G.
             (5)   The disllissal entry from the federal action in Philadel-
                   phia.
             In reviewing these documents, you will note that Engelhard's
        only talc mine was located in Johnson, Vermont and that Engelhard
        produced talc from that mine from 1967, when it acquired the mine,
        through 1983, when the mine was closed for economic reasons. (See
        Affidavits of Charles-carter). ~e Affidavit of William Ashton,
        an expert retained by Engelhard, summarizes a number of reports,
        studies and analyses from the Johnson, VerMont talc mine. These
        reports, studies and analyses conclude that the talc produced from
        Engelhard's only talc aine did not contain asbestos. Apparently
        a sample of the talc frOB the aine was analyzed in 1982 I.\sir19
        soanning electron aicroscopy and energy dispersive spectroscopy and
        x-ray diffraction analysis and analytical transaission electron
        Bicroscopy. The conclusion was that no ASbestos vas present in the
        sABple.(See para. 7 of Ashton Affidavit).
             During the BOnths of May and June of 1989, there was an
        exchange of correspondence between Jeffrey Schwartz in Philadelphia
        and counsel for Engelhard.    I have not enclosed copies of that
        correspondence, but it indicates that there are no saBplea
        currently available frOB the Johnson Vermont Hine. The reason for
        this is that the aine is filled with water, Baking access to
        saaples impossible.
          It is BY understanding that the most recent HIOSH report is
     consistent with the aaterials that are enclosed herein, in that no
     asbestos was found in the talc used in the tireworker facility that
     was subject to the stUdy.
             After Hr.   Schwartz    had   an   opportunity to       review these




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  ,   ....                   WESTON. JruRD t :FALLON, PAI8LBY   e   HO'WLUY



             Peter J. Brodhead, Esq.
             october 2, 1989
             Page 3

             materials, he agreed to voluntarily dismiss Enqelhard and ENTAL
             from the federal litiqation in Philadelphia. I would ask that you
             review these aaterials and give serious consideration to dis.issing
             Engelhard and ENTAL from the Tireworkers litigation in federal
             court in cleveland, Ohio. I am sure that you can appreciate the
             concern of ay client to avoid incurrinq further expanses froa this
             litiqation unnecessarily. This would seea to be an appropriate
             time to eliainate unnecessary and inappropriate defendants, in
             liqht of the meeting that was conducted by Judge Lambros
             approximately 10 days aqo.
                  Please feel free to call me after you have had an opportunity
             to review these matters. If any additional inforlilation would be
             of assistance to you in makinq this determination, please feel free
             to let ae know.




                                         /


             jk/ec
             Enclosures




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                     APPENDIX A, TAB E
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     Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 14 of 94 PageID: 13302


                              WESTON HURD
                     FALLON PAISLEY & HOWLEY   COL'NSELlORS AT LAw

                      2500 TERMINAL roWER· CLEVELAND. OHIO Hl1J 1241 • 216/241-6602
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                                                                 January 2, 1990


         Michael F. colley, Esq.
         Hoster & High Building
         536 South High Street
         Columbus, Ohio 43215
                    Re:   Engelhard/Eastern Magnesia Talc Co.-
                          Tireworkers Litigation
                          Our File No:   15241-07866

         Dear Mr. colley:
              As you know, I represent Engelhard/Eastern Magnesia Talc Co.,
         which is named as a defendant in the Tireworker cases that you have
         filed in Summit county Common Pleas Court.
              I have received your letter of December 21, 1989. This letter
        is to request that you voluntarily dismiss Engelhard Corporation
        and its former whOlly-owned SUbsidiary, Eastern Magnesia Talc Co.
        ("EMTAL") from the Tireworker cases that you have filed in Summit
        County Common Pleas court. The basis for this request is that we
        have determined that the talc that was produced by EHTAL did not
        contain any asbestos. I am enclosing a packet of documents that
        supports this request. Under these circumstances, there does not
        seem to be any basis to keep Engelhard or EMTAL as named defendants
        in these lawsuits •. 1 am sure that you can appreciate the sUbstan-
        ti~l expense that is being incurred by Engelhard as a result of
        being named as a defendant in these lawsuits.
             There is precedent tor my request. Engelhard and EMTAL were
        named as defendants in 28 lawsuits brought on behalf of former
        tireworkers at the B.F. GoodriCh plant in Oaks, PA. Those lawsuits
        were filed in the Eastern District·of Pennsylvania. I am enclosing
        the documents and materials that were provided to Jeffrey C.
        Schwartz of the Allen L. Rothenberg law firm in Philadelphia, PA.
        I am advised that after Mr. Schwartz had an opportunity to review
        these materials, he was satisfied that the talc produced by
        Engelhard and EMTAL did not contain any asbestos, and therefore,
        he voluntarily dismissed Engelhard and EMTAL from the Tireworker
        litigation in Philadelphia.




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"



           Michael F. Colley, Esq.
           January 2, 1990
           Page 2


                 The documents enclosed are as follows:
                 (1)   Affidavit of Charles D. Carter dated September 20, 1988:
                 (2)   A copy of an Affidavit by Charles D.Carter dated June
                       19, 1989:
                 (3)   A copy of a report prepared by Dr. F. D. Pooley concern-
                       ing an examination of talc samples taken from the Johnson
                       Talc Mine;
                 (4)   A copy of an Affidavit prepared by William H. Ashton
                       dated May 8, 1989, with attached Exhibits A through G.
                 (5)   The dismissal entry from the federal action in Philadel-
                       phia.
                In reviewing these documents, you will note that Engelhard's
           only talc mine was located in Johnson, Vermont and that Engelhard
           produced talc from that mine from 1967, when it acquired the mine,
           through 1983, when the mine was closed for economic reasons. (See
           Affidavits of Charles Carter). The Affidavit of William Ashton,
           an expert retained by Engelhard, summarizes a number of reports,
           studies and analyses from the Johnson, Vermont talc mine. These
           reports, studies and analyses conclude that the talc produced from
           Engelhard's only talc mine did not contain asbestos. Apparently
           a sample of the talc from the mine was analyzed in 1982 using
           scanning electron microscopy and energy dispersive spectroscopy and
           x-ray diffraction analysis and analytical transmission electron
           microscopy. The conclusion was that no asbestos was present in the
           sample. (see para. 7 of Ashton Affidavit).
                During the months ot May and June of 1989, there was an
           exchange of correspondence between Jeffrey Schwartz in Phi ladelphia
           and counsel for Engelhard.    I have not enclosed copies of that
           correspondence, but it indicates that there are no samples
           currently available from the Johnson Vermont Mine. The reason for
           this is that the mine is filled ",ith water, making access to
           samples impossible.
                It is my understanding that the most recent NIOSH report is
           consistent with the materials that are enclosed herein, in that no
           asbestos was tound in the talc used in the tireworker facility that
           was subject to the stUdy.
               After Mr. Schwartz had an opportunity to revie", these
           materials, he agreed to voluntarily dismiss Engelhard and EMTAL




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          Michael F. Colley, Esq.
          January 2, 1990
          page 3

          from the federal litigation in Philadelphia. I would ask that you
          review these materials and give serious consideration to dismissing
          Engelhard and EHTAL from the Tireworkers I i tigation in Judge
          Victor's Court in Akron, Ohio. I am sure that you can appreciate
          the concern of my client to avoid unnecessarily incurring further
          expenses from this litigation.      This would seem to be an ap-
          propriate time to eliminate unnecessary and inappropriate defen-
          dants, in light of the statements by JUdge Victor concerning the
          litigation schedule for these cases.
               Please feel free to call me after you have had an opportunity
          to review these matters. If any additional information would be
          of assistance to you in making this determination, please feel free
          to let. mo know.

                                                 Very truly yours,

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                                           /r\
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                                                      ,(/J/
                                                         _r,_, ~_ ?(
                                                 Jack Kluznik        ~
          jk/ec
          Enclosures




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                                                January 2, 1990         . SCo'"
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          James M. Gatskie, Esq.                                        I '- ....
          77 Est Mill Street
          Akron, Ohio 44308
                     Re:   Engelhard/Eastern Magnesia Talc co."-
                           Tireworkers Litigation                Bra':,
                           Our File No:   15241-07866              ".          ",1;;:' .....
          Dear Mr. Gatskie:

               As you know, I represent Engelhard/Eastern Magnesia Talc Co.,
          which is named as a defendant in the Tireworker cases that you have
          filed in Summit County Common Pleas Court.
               This letter is to request that you voluntarily dismiss
          Engelhard Corporation and its former wholly-owned subsidiary,
          Eastern Magnesia Talc Co. (lIEMTAL") from the Tireworker cases that
          you have filed in summit County Common Pleas Court. The basis for
          this request is that we have determined that the talc that was
          produced by EMTAL did not contain any asbestos. I am enclosing a
          packet of documents that supports this request.        Under these
          circumstances, there does not seem to be any basis to keep
          Engelhard or EMTAL as named defendants in these lawsuits.      I am
          sure that you can appreciate the substantial expense that is being
          incurred by Engelhard as a result of being named as a defendant in
          these lawsuits.
                 There is precedent tor my request. Engelhard and EHTAL were
           nan,ed as uefendants in 28 lawsuits brought on behalf ot tormer
           tireworkers at the B.Y. Goodrich plant i"n Oa1<s, PA. Thos& lo:owsul.ts
          were filed in the Eastern District ot pennsylvania. I am enclosing
          the documents and materials that were provided to Jeffrey C.
          Schwartz ot the Allen L. Rothenberg law firm in Philadelphia, Ph.
          I am advised that after Mr. Schwartz had an opportunity to review
          these materials, he was satisfied that the talc produced by
          Engelhard and EMTAL did not contain any asbestos, and therefore,
          he voluntarily dismissed Engelhard and EMTAL from the Tireworker
          litigation in Philadelphia.




                                                                                                   BASF Fe 0003971
    Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 19 of 94 PageID: 13307
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          James M. Gaskie, Esq.
          January 2, 1990
          page 2


               The documents enclosed are as fOllows:
               (1)   Affidavit of Charles O. Carter dated september 20, 1988;
               (2)   A copy of an Affidavit by Charles D. Carter dated June
                     19, 1989:

               (3)   A copy of a report prepared by Dr. F. O. pooley concern-
                     inq an examination of talc samples taken from the Johnson
                     Talc Mine;
               (4)   A copy of an Affidavit prepared by William H. Ashton
                     d~ted May 8, 1989, with attached ExhibltS A through G.

               (5)   The dismissal entry from the federal action in Philadel-
                     phia.
              In reviewing these documents, you will note that Engelhard's
         only talc mine was located in Johnson, Vermont and that Engelhard
         produced talc from that mine from 1967, When it acquired the mine,
         through 1983, when the mine was closed for economic reasons. (See
         Affidavits of Charles Carter). The Affidavit of William Ashton,
         an expert retained by Engelhard, summarizes a number of reports,
         studies and an"lyses tram the Johnson, Vermont talc mine. These
         reports, studies and analyses conclude that the talc produced from
         Engelhard's only talc mine did not contain asbestos. Apparently
         a sample of the talc from the mine was analyzed in 1982 using
         scanning electron microscopy and energy dispersi ve spectroscopy and
         x-ray diffraction analysis and an"lytical transmission electron
         microscopy. The conclusion was that no asbestos was present in the
         sample. (See par". 7 of Ashton Affid"vit).
                During the months of May lind June of. 1989, there was an
          el{chllnge of correspondence between Jeffrey Schwartz in Phil"delphia
         lind counsel for Engelhard.      I have not enclosed copies of that
         correspondence, but it indicates that there are no samples
         currently available from the Johnson vermont Mine. The reason for
         this is th"t the mine is filled with water, making access to
         samples impossible.
              It is my understanding that the most recent NIOSH report is
         consistent with the materials that are enclosed herein, in that no
         asbestos was found in the talc used in the tireworker facility that
         was subject to the study.
              Atter Mr. Schwartz had an opportunity to review these
         mater ials, he agreed to voluntar lly dismiss Engelhard and EMTAL




                                                                               BASF Fe 0003972
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 20 of 94 PageID: 13308



     James M. Gaskie, Esq.
     January 2, 1990
     Page 3

     from the federal litigation in Philadelphia. I would ask that you
     review these materials and give serious consideration to dismissing
     Engelhard and EMTAL from the Tireworkers Ii tigation in Judge
     Victor's court in Akron, Ohio. I am sure that you can appreciate
     the concern of my client to avoid unnecessarily incurring further
     expenses from this litigation.      This would seem to be an ap-
     propriate time to eliminate unnecessary and inappropriate defen-
     dants, in light of the statements by Judge Victor concerning the
     litigation schedule for these cases.
          please feel free to call me after you have had an opportunity
     to review these matters. If any additional information would be
     of assistance to you in making this determination, please feel free
     to let me know.
                                      Very truly yours,



     jk/ec
     Enclosures




                                                                         BASF Fe 0003973
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 21 of 94 PageID: 13309




                     APPENDIX A, TAB G
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 22 of 94 PageID: 13310


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                  FALLON PAISLEY & HOWLEYCOIINSfllOllS AT lA'll

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                                              January 2, 1990


      A Russell Smith, Esq.
      ~03 Society Building
      Akron, Ohio 44308
                 Re:    Engelhard/Boltern Moane.io Talc CQ.-
                        Tir.vgrk'r. LitigAtign
                        Our File   No~        15241-07866
      Dear Mr. Smith:
           As you know, I represent Engelhard/Eastern Magnesia Talc Co.,
      which is named aa a defendant in the Tlreworker cases that you have
      tiled in S~it county Common Pleas Court.
          This letter is to request that you voluntarily dismiss
     Engelhard corporation and its tormer wholly-owned subsidiary,
     Eastern Magnesia Talc Co. ("EMTAL") from the Tireworker cases that
     you have tiled in S~it county Co=mon Pleas court. The basis for
     this request is that we have determined that the talc that was
     produced by EMTAL did not contain any asbestos. I am enclosing a
     packet ot document. that supports this reque.t.         Under these
     circumstances, there does not seem to be any basis to keep
     Engelhard or ENTAL a. named defendant. in the.e lawsuits. I am
     sure that you can appreciate the substantial expense that is being
     incurred by Engelhard as a result of being named a. III detendant in
     the.e lawsuits.
          There ia precedent for my request. Engelhard and BHTAL were
     named as defendanta in 28 lawsuits brought on behalf of former
     tireworkers at tbe B.I'. Goodrich plant in oaks, PA. Those lawsuits
     were filed 1n tbe lastern oiatrict of pennsylvania. 1 am enclosing
     the docuaenta ancl uterials that were provided to Jeffrey C.
     Schwartz ot the Allen L. Rothenberg law fira in Philadelphia, PA.
     1 am advised that after Hr. Schwartz had an opportunity to review
     these uteriel., he was satisfied that the talc produced by
     Engelhard and ENTAL did not contain any asbestoa, and therefore,
     he voluntarily dls.is.ed Engelhard and ENTAL from the Tireworker
     litigation in Philadelphia.




                                                                                  BASF Fe 0003979
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 23 of 94 PageID: 13311



       A. Russell Smith, Esq.
       January 2, 1990
       Page 2


             The documents enclosed are as follows:
             (1)   Affidavit of Charles O. Carter dated September 20, 1966;
             (2)   A copy of an Affidavit by Charles D. Carter dated June
                   19, 1989;
             (3)   A copy of a report prepared by Dr. F. O. Pooley concern-
                   ing an examination of talc samples taken from the Johnson
                   Talc Minel
             (4)   A copy of an Affidavit prepared by William H. Ashton
                   dated May 8, 1989, with attached Exhibits A through G.
             (5)   The dismissal entry from the federal action in Philadel-
                   phia.
            In reviewing these documents, you will nots that Engelhard's
       only talc mine was located in Johnson, Vermont and that Engelhard
       produced talc from that mine from 1967, when it acquired the mine,
       through 1983, when the mine was closed for economic reasons. (See
       Aftidavits ot charles carter). The Affidavit ot William Ashton,
       an expert retained by Engelhard, summarize. a number of reports,
       studies and analyses from the Johnson, Vermont talc mine. These
       reports, studies and analyse. conclude that the talc produced trom
       Engelhard's only talc mine did not contain asbestos. Apparently
       a sample of the talc from the min. was analyzed in 1982 using
       scanning electron microscopy and energy dispersive spectroscopy and
       x-ray diftraction analysis and analytical transmission electron
       microscopy. The conclusion was that Dg Albaatga WAa present in the
       sAmple.(See para. 7 of Ashton Aftidavit).
 •           our Ing the lIonth. of HAY and June of 1989, there was an
       exchange of corre.pondence between Jeffrey SChwartz in Philadelphia
       and counsel for Enqelhard.     I have not enclosed coples of that
       corre.pondence, but it indiCAte. that there are no samples
       currently available froa the Johnson Vermont Min.. The reason tor
       this is that the aine i. filled with water, makinq access to
       samples iapo.aible.
              It ia lIy understandinq that the most recent NIOSH report is
      consistent with the materials that are encloaed her.in, in that no
       asbestoa wa. found in the talc used in the tireworker facility that
      'lola. subject to the study.
          After Mr. Schwartz hAd an opportunity to review these
      materials, he. aqreed to voluntarily dismiss Engelhard and EMT.l.L




                                                                       BASF Fe 0003980
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 24 of 94 PageID: 13312



      A. Russell Smith, Esq.
      January 2, 1990
      Page 3

      from the federal litigation in Philadelphia. I would ask that you
      review these materials and give serious consideration to dismissing
      Engelhard and EMTAL. frolll the Tireworkers litigation in Judge
      Victor's court in Akron, Ohio. I am sure that you can appreciate
      the concern of lilY client to avoid unnece.sarily incurring turther
      expenses troll this 11 tigation.    This would seelll to be an ap-
      propriate time to eliminate unnecessary and inappropriate deten-
      dants, in light of the statements by Judge Victor concerning the
      litigation schedule for these cases.
           Please teel tree to call me after you have had an opportunity
      to review these matters. It any additional information would be
      ot assistance to you in making this determination, please teel tree
      to let m. kno ....




      jk/ec
      Enclosures




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Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 25 of 94 PageID: 13313




                     APPENDIX A, TAB H
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 26 of 94 PageID: 13314
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                Ms. Phoebe Corry
                LOPATIN, MILLER, FREEDMAN, BLUESTONE,
                  ERLICK, ROSEN .. BARTNICK
                1301 East Jefferson Avenue
                Detroit, MI 48207-3119
                            RE:     TIREWORKER CLADIS AGAnIS'l' PITA REALTY

               Dear Ms. Corry:
                    As you know, this firm is local counsel for Defendant Pita
               Realty Limited, f/k/a, Eastern Maqnesia Talc Company in the
               asbestos personal injury cases filed by your firm. Enclosed are
               the materials to whioh Jerry D'Avaneo referred in his teleph9ne
               conversation with you yesterday. We ask that your firm review
               the enclosed materials and dismiss Pita from the cases you have
               filed for the reason that its talc does not contain asbestos.
                    Enclosed are affidavits of Charles D. Carter, Director of
               Joint Ventures and Resources of Englehard COl:poration, dated
               september 20, 1988 and June 19, 1989. Ml:'. Carter's affidavits
               demonstrate that Pita's only talc mine was located in Johnson,
               Vermont, and that Pita ceased producing talc in 1983, when the
               mine was closed for economic l:easons.
                     Also enclosed is an affidavit by William H. Ashton, who has
               been involved in inVestigating and studying the talc industry and
               talc: technology for over 35 years.      Mr. Ashton's affidavit
               summarizes a number of reports and studies of the talc produced
               at the Johnson, Vermont talc mine that was owned and operated by
               Pita.    The unequivocal conclusion reached by all of these
               investigations is that talc from the Johnson, Vermont mine, which
               was pita's only talc mine, did not contain asbestos.
                     Included among the various studies and l:eports referred to
               in Ml:'. Ashton's affidavit are two separate 1982 analyses of the
               talc fl:om the Johnson mine. Both of those analyses concluded,
               based on (i) scanning electron microscopy and energy dispersive
               spectroscopy, and (ii) x-l:ay diffraction analysis and analytical
               transmission electl:on microscopy, respectively, that no asbestos




                                                                                                     BASF Fe 0009089
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 27 of 94 PageID: 13315




      WISE &    MARSAC

         Ms. Phoebe Corry
         January 12, 1990
         Page 2


         was present. I have also enclosed the report by Dr. F. D. Pooley
         referred to in paragraph 7 of the Ashton affidavit.
               As you may be aware, pita Realty, sub n2ffi Eastern Magnesia
          Talc Company, was recently dismissed from the tireworker
          litigation pending in Pennsylvania based on the enclosed
          information. A copy of those dismissal orders also are enclosed.
               Under the circumstances, while we will file appearances on
          behalf of our client, we will, unless you request otherwise,
          defer filing responsive pleadings until we hear from you with
          respect to the enclosed materials.       Further, as per your
          conversation with Jerry D'Avanzo, we understand that the Motion
          to Compel Discovery which you have noticed for January 19, 1990,
          in Wayne County does not apply to Pita.
               To the extent you should have any questions regarding the
          enclosed materials, please do not hesitate to call Jerry D'Avanzo
          or me. I look forward to hearing from you soon.
                                          Very truly yours,
                                          WISE & MARSAC

                                         !UtJJI'~
          RAM:hrl
          Enclosures
          cc:   David L. Ravid, Esq.
                Eric S. Sarner, Esq.




                                                                         BASF Fe 0009090
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 28 of 94 PageID: 13316




                      APPENDIX A, TAB I
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 29 of 94 PageID: 13317
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     (202) 862-8964                                                                                          D).I'C IllllTlAL




                                                                                               v----~--



                                                   March 2, 1990




                                Rea     Ohio Tireworker Litigation
                                                                                                                         ~
                                                                                                                         ---l
            Dear Mr. Brodhead3
                      I wtite as national couosel for Eastern Magnesia Talc
            Company (~EmTal")t a defendant in titeworker cases brought on
            behalf of plaintiffs represented by your firm. The purpose of
            this letter is to obtain a response to the request previously
            made by EmTal's local counsel that you dismiss EmTal from the
            cases brought by your office.

                     By letter dated October 2, 1989, EmTal's local
           counsel, Jack Klu~nick, of Weston Hurd Fallon Paisley & Howley,
           sent to you, in support of our request for a dismissal, an
           affidavit prepated by William H. Ashton and supporting materials
           indicating that the talc mined by EmTal did not contain
           asbestos. A copy of Mr. Rluznick 9 a letter is attached.
                     It is now five months since you were provided with
           these materials, yet you have not responded in any way to our
           request. I must insist on a response to our tequest for a
           dismissal baaed on the Ashton Affidavit and supporting
           materials. The stays in effect in this litigation present you
           with the opportunity to review these materials and advise us of
           your decision.




                                                                                                            BASF Fe 0000506
    Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 30 of 94 PageID: 13318




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                      I urge ~hat you give your fullest oonsideration to
           these materials, as plaintiffs' counsel in the Pennsylvania
           tireworker litigation did. After reviewing these mate~ials, and
           having plaintiffs' expert, Or. Art Rohl, review them as well,
           plaintiffs' counsel in Pennsylvania voluntarily diemiaaed EmTal
           from the pennsylvania litigation. The same result has been
           obtained in the tireworker litigation in Kansas. On January 16 t
           1990 t plaintiffs' counsel filed a notice voluntarily dismissing
           a number of defendants, including EmTal. Plaintiffs' counsel in
           Kansas also had been provided with the Ashton materials. A copy
           of this notice of dismissal is attached.
                     Please oa11 me if you have any questions. Since you
           have already had these materials for five months t t request that
           you contact me with your response no later than March 15, 1990.




           Peter J. Brodhead, Esq.
           Spagenberg, Shibley, Tract & Lancione
           1500 National city Bank Bldg.
           Cleveland, Ohio 44114-3062

           {Attachments]
           CCf   Boward G. Sloane, Esq.
                 Lester Fliegel, Esq.

           VIA FeDERAL ExpnESS




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Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 31 of 94 PageID: 13319




                      APPENDIX A, TAB J
     Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 32 of 94 PageID: 13320
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                                        CAHILL GORDON & REINDEL

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       (202) 862-8964
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                                                                                        ..   ~   T\

                                                 March 2, 1990

                                                                         .:.• i,   rt




                                      Rei   Ohio Tireworker   Litigatta~

                Dear Hr. Smi th I
                         I write as national counsel for  tor Eastern ~gne&1a Talc
               Company ("EmTal"), a defendant in tireworker cases brought on
               behalf of plaintiffs represented by your firm. 'The ~rpose of
               this letter ill' ,to> obtain- • response to the request previously
               made by EmTal's local counsel that you dismiss EmTal from the
               cases brought by your oftice.
                                         office.
                         By letter dat&d Janu.r~ l, ~990, EmTal's local
               counsel, Jack Klu.~icL, ot Weston aurd Fallon Paisley' Howley,
               sent to you, in suppor~o~ our req~t fq~ a dismissal, an
               affidsvit prepare4 by William B. Ashton,~d supporting materials
               indicating that th. talc ained by EaTal did not contain
               asbestos. A copy of ~. Kluznick's letter is attached.
                         It i. no~ two months since you were provided with
               these materials, yet you have not responded
                                                 respondsd in any way to our
               request. I must insist on a response to our request for a
               dismissal based on fhe Ashton Affidavit and supporting
               materials. The stays in effect in this litigation present you
               with the opportunity to review
                                       ~.view these materials and advise us of
               your decision.
                         I urge that you give your fullest consideration to
               thea. materials, 'aa
               these            'S8 plaintiffs' counsel in the Pennsylvania
               tireworker litigation did. After reviewing these materials, and
               having plaintiffs' expert, Dr. Art Rohl, review them as well,




                                                                                                             BASF Fe 0003957
    Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 33 of 94 PageID: 13321


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          plaintiffs' counsel in Pennsylvania voluntarily dismissed EmTal
          from the PennsYlva~i~'1itlqation. The same result has been
          obtained in the tiq!i<iorkltt, litigation in Kansa.-.-' Ort Ihnuary 16,
          1990, plaintiffs' counsel filed a notice voluntarily dismissing
          a number of defendants~ including EmTal. Plaintiffs' counsel in
          Kansas also had.bee~-p(ovided with the Ashton materials. A copy
          of this notice of dismissal is attach~.
                    Pleas."call·~ if you have any questions,   Since you
          have already had theae,materials for two months, I request that
          you contact me with,your response no later than March 15, 1990.




          A. Russell Smith, Esq.
          A. Russell Smith Co., L.P.A.
          503 Society Building
          159 South Main Street
          Akron, Ohio 44308                                       <....   ,    M,


          [Attachments]
                                                                     ,    --
          CCI    Howard G. Sloane, Esq.
                 Lester Fliegel, Esq.
          VIA FEDERAL EKPRESS




                                                                                    BASF Fe 0003958
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 34 of 94 PageID: 13322




                     APPENDIX A, TAB K
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 35 of 94 PageID: 13323

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                                          CAHILL GORDON                            & REINDEL
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            (202) 862-8964



                                                           April 23, 1990


                                    Re:     Arkansas Tireworker Litigation

           Dear Jim:
                     I tried unsuccessfully to reach you on a number of
           occasions last week concerning qur request for a dismissal in the
           Brock action with respect to our client, Eastern Magnesia Talc
           Company ("EmTal"). On April 20, 1990, I received a message from
           your secretary informing me that you need to have your expert
           review the matter.
                     I had assumed from our previous conversations that this
           had been done, especially when you told me a few months ago that
           your conclusion was that EmTal should be dismissed on the basis
           of the materials we provided to you. Regardless, it is now April
           23rd and our current extension of time in which to answer or
           otherwise respond to your clients' Complaint is due to run on
           April 30th. I trust that you will handle this matter in an expe-
           ditious fashion. However, unless yoU inform me otherwise, I
           believe that we will need to take an additional extension of
           time; the only question is whether this extension should be for
           more than one month. Please contact me immediately at (202)
           862-8964 so that we can discuss this matter further.




                                                                                                                          BASF Fe 0000001
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 36 of 94 PageID: 13324


       CAHILL GORDoN 8; .RBINJ)'BL
                                           -2-


                      Thank you in advance for your cooperation.




        James R. LaFevor, Esq.
        Rowland & Rowland, P.C.
        century Building
        312 South Gay Street
        RnoKville, Tennessee 37902
        VIA TELECOPIER & FEDERAL EXPRESS
        cc:    Howard G. Sloane, Esq.
               Lester Fliegel, Esq. (via Federal Express)
               Phil Campbell, Esq. (via Federal EKpress)




                                            .'
                                                                         BASF Fe 0000002
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 37 of 94 PageID: 13325




                     APPENDIX A, TAB L
    Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 38 of 94 PageID: 13326




                                               WISE &             MARSAC
•    •   .JOHN A WI9C                         ATTORNEYS AND COUNSEL.ORS
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                     John L. Christensen, Esq.
                     Lopatin, Miller, Freedman, Bluestone,
                       Erlich, Rosen & Bartnick
                     1301 East Jefferson Avenue
                     Detroit, Michigan 48207~3119
                                  Re:   Tireworker Litigation                ~   Pita Realty Limited
                     Dear Mr. Christensen:
                          We understand that you have recently taken over responsibil~
                     ity for the tireworker cases brought against, inter alia, our
                     client, Pita Realty Limited I "Pita")._ Nearly one Year ago, on __
                     JanuarY-12, 1990, we forwarded to Phoebe Corry of your office a
                     request for a voluntary dismissal accompanied by an affidavit
                     prepared by William Ashton setting forth the mineral content of
                     our client's talc. A copy of that letter is enclosed.
                          OUr client's talc came from the only mine it owned - a
                     single mine located in Johnson, Vermont which was operated from
            ~        1967 to 1983. As the Ashton Affidavit and accompanying materials
                     indicate, the talc from this mine was free of asbestos. Indeed,
                     the very study upon which you rely in these csses ~ the NIOSH
                     "Analysis of Talc by. l!;~Ray Diffraction !\nd Polarized Light
                     Microscopy"    (see your request for admission number 251·-
                     concluded that Pita's talc (sample number 66) did not contain
                     asbestos or tremolite.
                          Numerous other oounsel involved in the tireworker litigation
                     nationwide have reviewed these materials and have ooncluded that
                     there is simply no basis for a good-faith olaim against our
                     client's product.    It is. moreover, clear that the product
                     identification against Pita is quite weak. In light of these
                     facts, we respeotfully request that you review these materials
                     and seriously consider our request for a voluntary dismissal
                     without prejudice.




                                                                                                               BASF Fe 0009005
    Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 39 of 94 PageID: 13327



         WISE 8< MARSAC
•    •     John L. Christensen, Esq.
           January 17, 1991
           Page 2


                We share the view expressed in Mr. Schimers' December 18,
           1990 letter that the parties should avoid needless motion
           practice. To that end, we have made every effort to advise you
           of the lack of a good-faith basis for maintaining these actions
           against Pita. Nothing in your pleadings or brochures argues
           persuasively otherwise. Accordingly, we ask that you seriously
           consider our request for a dismissal with prejudice. We are
           available to discuss these matters with you in further detail at
           your convenience, and propose that we sit down to discuss these
           matters in person after you have had an opportunity to review our
           request. We are available to meet with you on the morning of
           January 30, 1991, prior to the conference scheduled before Judge
           Harwood.
                                            Sincerely yours,
                                            WISE & MARSAC

                                            1~1t.. ~
                                            Robert A. Marasc
           RAM/ldf
           Enclosure
            bee:   Eric S. Sarner, Esq.
                   Howard Sloan. Esq.
                   Darrell M. Grams, Esq.




                                                                             BASF Fe 0009006
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 40 of 94 PageID: 13328




                     APPENDIX A, TAB M
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 41 of 94 PageID: 13329




                                  CAHILL GORDON             & REINDEL
                                       1990 K STREET, N. W.
                                     WASHINGTON, D. C. 20006
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    19 RUE   f'RAN~OIS lIP'
    76006 PArUS. FRANCE



 WRIt-lilt's nzaecr DrAL NUMBER

           (202) 862-8964

                                           June 25, 1991

                                   Re:   Montgomery/Summit County
                                         Tireworker Litigation
           Dear David:
                     This letter will confirm our conversations and under-
           standing to date concerning my client, Eastern Magnesia Talc
           Company.
                      Based on your review of the materials previously for-
           warded, you have agreed, on behalf of the former tire and rubber
           workers represented by your firm, to dismiss my client from all
           of the cases pending in Montgomery and Summit Counties brought by
           your firm.
                    I am in the process of drafting a dismissal agreement
          that reflects your stated need to refile should you be able to
          demonstrate that the talc sold by my client contained asbestos.
          I will be forwarding a draft to you in the next few days.

                     Please contact me immediately if the above does not
           accurately reflect our understanding.

                                                                     f-;  "
                                                                   S~~Y y~ur~,
                                                               Vt1A )5~~~~'--
                                                                   Eric S. Sarner
          David I. Shroyer, Esq.
          Michael F. Colley Co., L.P.A.
          536 S. High Street
          Columbus, Ohio 43215
          VIA FEDERAL EXPRESS
          cc:      Lester Fliegel, Esq.
                   Howard G. Sloane, Esq.
                   Allen s. Joslyn, Esq.


                                                                                                BASF Fe 0012052
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 42 of 94 PageID: 13330




                     APPENDIX A, TAB N
    Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 43 of 94 PageID: 13331

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       RO_CRT A.. Alt"SSi        RAND McOUINN"                                                      DeNIS McIHt;RNE.'r t 1'\ C.
       ROGER ANORUS              O(R ... RO "".MelsTAtU                                             IRWIN 5CHNCiOCAMAN
       MICHAEL A •• ECKER        ROOER NELTICA                                                            "CNI!)" eOUN.III"
       SU!$AN .UCKI..E't         CLIFFORD L.MICH£L
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      C'RO A. CAM_OHl            LAUfttNC£:,.. $ILV(RMAN                                          WASHINGTON, 0. c. ;toooe
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                                                             October 2, 1991                      r"(;:a'MILE iIZ-2ea-5'U~O
         'AHUEL KOHN             ftAlil"H O. WfNGE"                                                      ~"'DWltt(O   til.e,OHl"
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                                                                                                (212) 701-3321

                                          Re:         Wayne County Tireworkers Cases

               Dear Steve:
                         I write to confirm our oral request that you volun-
               tarily dismiss the claims of the 12 plaintiffs in the January,
               1992 trial pool against Pita Realty, subject to the same tolling
               agreement as we entered into with respect to the cases in the
               July, 1991 trial pool. The agreement with respect to the July,
               1991 trial pool provided that those plaintiffs could reassert
               claims against Pita only if their "medical and scientific
               experts attest, by sworn affidavit, that a non-asbestos form talc
               product was a substantial contributing cause of the injuries
               allegedly suffered by Plaintiffs or Plaintiffs' Descendents".
               The dismissal followed our demonstration that (i) Pita's talc
               did not contain asbestos -- as your own expert, Dr. Rohl,
               agreed, and that (ii) the condition of the plaintiffs was not
               attributable to talc which did not contain asbestos -- as your
               expert, Dr. Demers, testified. A third factor was the lack of
               product identification.
                         Despite this dismissal of all the July, 1991 plain-
               tiffs, I understand that you told my partner Allen Joslyn that
               you are unwilling to dismiss the January, 1992 plaintiffs. The
               reason you gave for this change in position was the deposition
               of Roger Miller, which you claimed establishes that there was
               asbestos at the Eastern Magnesia Talc mine. Having re-read that
               testimony, I cannot find any such indication. Mr. Miller testi-
               fied that (i) EMTal operated only one mine -- the Johnson mine
               (p. 10); and (ii) he never saw chrysolite, tremolite, actinolite


                                                                                                                BASF Fe 0009003
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       CAHILL GORDON   & REINDEL

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       or pyrophyllite in the EMTal mine (p. 37).     Mr. Miller also tes-
       tified (in response to your question),
                  "The Witness. In our examination to control
            the quality of the products, we looked for any
            extraneous mineral and asbestos happens to be a
            readily easily identified mineral in hand specimens
            and fine powders. While there was no specific
            directive to do that, I believe that our quality
            control that we used to regulate the operations
            were such that we would not have missed asbestos if
            it were present." (p. 60)
      Finally, Mr. Miller endorsed Chidester's analysis as the most
      definitive source about what was in the ore budy.
                In short, there is no good faith basis for the contin-
      uation of the 1992 plaintiffs' cases against Pita. We will have
      to decide soon whether to commence full scale litigation with
      respect to them. I await either your agreement to dismiss the
      January, 1992 plaintiffs against Pita, or demonstration of a
      good faith basis for your refusal to do so. Please call me or
      my partner, Allen Joslyn, to discuss this.




                                       Howard G. Sloane .
      steve Kaufman, Esq.
      Lopatin, Miller
      1301 East Jefferson Avenue
      Detroit, Michigan 48209-3119




                                                                        BASF Fe 0009004
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     Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 46 of 94 PageID: 13334

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•                                                    CAHILL GORDON             & REINDEL
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       CIRO A. GAMaONI             LoI,URCNCC A. SILVERMAN                                             WASHINGTON, 0. c. itoooe
       CHARLES A.OILMAN            HOWAI'tD Q. SLOAN!:
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      WILLI"H T. LlflAND           JONN ,.. YOUNG
       JCHAI;L MACRIS              OAlHCl..,J. tU8KOFJ"


                                                                 october 31, 1991
                                            Re: Summit county Asbestos/Tireworker
                                                         Litigation

                  Dear Mr. Nace:
                      In response to your letter of october 4, 1991, you are
                 perfectly aware of our position, since, in an effort to
                 demonstrate the lack of justification for this suit, on January
                 2, 1990, we supplied you with copies of the documents which form
                 its basis. If you have misplaced them, please let me know and I
                 will send another set.
                      The answer is, of course, that even with your expanded
                 definition, Pita did not mine, mill or sell "asbestos". Now that
                 you have our answer, which demonstrates the laok of any basis for
                 these suits against Pita, please dismiss the claims against it.
                                                                                     sincerely yours,
                                                                                         ~   ~;).--
                                                                                     Allen S. Joslyn

                 R. Bryan Nace, Esq.
                 Laybourne, Smith, Gore & Goldsmith
                 159 South Main Street, suite 503
                 Akron, Ohio 44308-1317
                 co: Jaok Kluznik, Esq.




                                                                                                                     BASF Fe 0002594
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                     APPENDIX A, TAB P
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 48 of 94 PageID: 13336
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                                                                          to;"
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                                        CAHILL GORDON     & REINDEL
                                             1990 K STREET, N. W.
                                           WASB~GTON,D.C.20006
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   (202) 862-8941                             April 23, 1992


                                 Re:   Cuyahoga County Tireworker Actions

        Dear Mr. Economusl
                  I enjoyed speaking with you on MOnday. Aa we dis-
        cussed, this firm is of counsel to Engelhard Corporation
        (·Engelhard"), which is named as a defendant in three tireworker
        cases that you/recentlY filed in the Cuyahoga County Court of
        Common Pleas. l  You indicated that Engelhard is named as a
        defendant in these cases because its former subsidiary, Eastern
        Magnesia Talc Company (·EmTal·), allegedly sold talc to plain-
        tiffs' employers. EmTal operated a single talc mine in Johnson,
        Vermont between October 1967 and 1973.
                  This letter is to request that you voluntarily dismiss
        Engelhard from these three tireworker actions, on the basis that
        talc produced by EmTal contained no asbestos. I am enclosing the
        following documents supporting this request I
                           (1)    A copy of an Affidavit prepared by
                                  William H. Aahton dated May 8, 1989,
                                  with attached Exhibits A through Gl
                           (2)    A copy of an Affidavit by Charles D.
                                  Carter dated September 20, 19881
                           (3)    A copy of an Affidavit by Charles D.
                                  Carter dated June 19, 1989;
                           (4)    A copy of a report prepared by Dr. F. D.
                                  Pooley concerning an examination of talc
                                  samples taken from the Johnson, Vermont
                                  minel and

        1/      Namely, these actions are Clay C. Compton, et a1. v. Abe~
                Corp. et a1., Case No. 92-229107-CVl Charles L. Williams~
                al. v. Abex Corp. et al., Case No. 92-229108-CVi and Lloyd
                W. Brown, et al. v. Abex Corp., et al., Case No.
                92-229393-CV.



                                                                                   BASF Fe 0004407
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       CAHILL GoRDON   8: REINDEL



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                   (5)     A copy of a B.F. Goodrich specification
                           sheet dated November 10, 1978 for EmTal
                           500 talc.
                  In ~eviewin9 these documents, you will note that
       EmTal's (and, accordingly, Engelh~d's) only talc mine was lo-
       cated in Johnson, Ve~ont, and that £roTal produced talc from that
       mine only from October 1967, when EmTal acquired the mine, until
       1983, when the mine was closed for economic reasons. (See Carter
       Affidavits.) The Affidavit of William H. Ashton summarizes nu-
       merous investigations, examinations, and studies of the Johnson
       mine. The conclusion derived from all of these studies is that
       the talc produced from this mine did not contain asbestos. A
       sample from the Johnson talc mine was analyzed in 1982 using
       scanning electron microscopy and energy dispersive spectroscopy,
       as well as x-ray diffraction analysis and analytical transmission
       electron microscopy. The analysis revealed that no asbestos was
       present in the sample. (See Ashton Affidavit p~agraph 7.)
                 Under the circumstances, there appears to be no basis
       for maintaining Engelhard as a named defendant in these actions.
       I am sure that you can appreciate that considerable expense has
       been and will be incurred by Engelhard as a defen4ant in these
       cases, and that this dismissal request merits immediate atten-
       tion.
                 There is substantial precedent for my request. For
       example, Engelh~d and EmTal were named as defendants in 28 cases
       brought on behalf of former tireworkers at the B.F. Goodrich
       plant in Oaks, pennsylvania and filed in the Eastern District of
       Pennsylyania. The enclosed documents were provided to Jeffrey C.
       Schwartz of the Allen L. Rothenberg law fi~ in Philadelphia and
       were reviewed by plaintiffs' expert, Dr. Arthur Rohl. After this
       review, Mr. Schwartz voluntarily dismissed Engelh~d and ErnTal
       from that litigation.
                 EmTal has also been voluntarily dismissed from
       tireworker litigation in, inter alia, the District of Kansas and
       Michigan state court. Those plaintiffs' counsel had also been
       provided with the Ashton materials described above.




                                                                         BASF Fe 0004408
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       CAHILL GORDON &. REINDEL




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                 I look forward to speaking with you further once you
       have had an opportunity to review the enclosed materials. If any
       additional information would assist you in your decision, please
       call me directly.

                                                Vr!'JJ:r    urs
                                                                  ,

                                            ~.          Martin
       Dale S. Economus, Esq.
       Bevan & Economus
       10360 Northfield Road
       Northfield, Ohio 44067
        [Enclosures]
       VIA FEDERAL EXPRESS

       bee: Howard G. Sloane, Esq. (w/o enclosures)
            Allen S. Joslyn, Esq. (w/o enclosures)
            Mr. Michael D. Sullivan (w/o enclosures)




                                                                         BASF Fe 0004409
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                     APPENDIX A, TAB Q
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                                                   CAHILL GORDON     & REINDEL

                                                        1990 K STREET, N. W.
                                                      WASH~GTON,D.C.20006
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            (202) 862-8941




                                                                   May 18, 1992



                                        Re:   Cuyahoga County Tireworker Actions

            Dear Mr. Economusl
                     On April 23, 1992, I wrote to you to request dismissal
           from three tireworker cases recently filed by your office naming
           Engelhard Corporation as a defendant. As you recall, Engelhard
           was named in those cases because its former subsidiary, Eastern
           Magnesia Talc Company ('EmTa1'), allegedly sold talc to plain-
           tiffs' employers. Enclosed with my letter last mont.h were
           various documents demonstrating that talc produced by EmTal from
           its sole mine and mill in Johnson, Vermont contained no asbestos.
           I trust that you have had an opportunity to review those docu-
           ments. If you have misplaced any of those materials or feel that
          .more information would assist you in your decision regarding our
           dismissal request, please let me know.
                 .   Last week I received a copy of the Complaint in
           Gonzalez v. Abex Corp., et al., Case No. 92-231225-CV, which also
           names Engelhard as a defendant. Obviously, we would like to
           avoid incurring additional expenses in defense of the four
           actions which now name Engelhard when under the circumstances
           there appears to be no basis in fact for maintaining Engelhard as
           a defendant. Accordingly, I request that you give serious and




                                                                                        BASF Fe 0004405
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           CAHILL GORDON & REINDEL

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          prompt consideration to our dismissal request. If you would like
          to discuss this matter further, please call me directly at any
          time.




          Dale S. Economus, Esq.
          Bevan & Economus
          10360 Northfield Road
          Northfield, Ohio 44067
          VIA FEDERAL EXPRESS




                                                                         BASF Fe 0004406
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                                                    CAHILL GoRDON & REINDEL
                                                                   EIGHT\" PlNE STREET

                                                                   NEW YORK, N.Y. 10005

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  po HEVIN CASTEL                   OONM.O oJ MUI.VIHILL                                        CO"VOQN. Dum.. """,
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  WALTt:ft   c. Ct.,"",   ,.   e.    1'110'1' L I'lEOO!IH                                        ,.HILII'" A HCIMOWITZ
  atHJA""",.J eOHEN                  'UCHARD \., REINHOLD                                       MICHA£L' SACKHt::IM
  .JOSE:~H   P   CONWAY              DE"'" "'NOEL                                               .JE"""I['( I: SHAfI',fltO
  NA"SHAL,t. COX                    THOft" "OSIENTH"\.                                         .JOHN oJ IJTAI-ITQN, .,lit.
  THOMAS f'. CU'Ui'N                 ,ueHARD oJ •• ".ELL.'"                                              eouH.~1.

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  <JONATHAN'."" .... ,.,K                                                                      ··A(nIlT'f£D r,.,o,lic;c ONI,Y

                                                                                             T£LI:"HONt 212.701·3000

                                                                                            WR'TC""S CI,.ECT HUM            a.:"
                                                                                           (212) 701-3321

                                                  Re:        Akron Tireworker Litigation

             Dear Russ and Brian:
                       We recently learned that your firm voluntarily dis-
             missed Windsor Minerals, Inc, from the Akron cases some time ago
             after reviewing an affidavit supplied by Windsor. Our client,
             Eastern Magnesia Talc, bought precisely the same mining opera-
             tions from Windsor in 1967 and operated them until 1983. The
             Windsor affidavit attests to the fact that "all of the talc
             mined by Windsor Minerals, Inc. has been regularly sampled and
             tested for the presence of asbestos. No evidence of the pres-
             ence of asbestos in Windsor Minerals, Inc. 's product has ever
             been revealed by this testing". (Copies of the affidavit and
             dismissal stipulations are enclosed).
                       In light of your dismissal of the predecessor owner
             and operator of these mining operations, Windsor, we urge you to
             voluntarily dismiss BMTal from the remaining Akron cases on the
             same basis. As I have indicated to you in the past, similar




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      CAIULL GORDON   & RE:1NDEL


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       orders have been signed by plaintiffs' counsel in numerous
       jurisdictions around the country after concluding that there was
       no asbestos in the EMTal product.




       A. Russell Smith, Esq.
       Brian R. Nace, Esq.
       Laybourne, Smith, Gore
         & Goldsmith
       503 Society Building
       159 South Main Street
       Akron, Ohio 44308-1317




                                                                         BASF Fe 0014437
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 57 of 94
                                                                    ........PageID:
                                                                              -     13345




                                IN THE COURT OF COMMON P!. US
                                     SUMMIT COUN'r.l, OHIO

                                         y           :    CASE NO. ACVaS4-1087
         FAYE MILLER, Ind ivi du all
                                tri x
         and as Ad mi nis traR. MILLER
         Es tat e of ROB  ERT
                                      ot   the
                                             ,'      .•   J1.JDGE   CARROL!.
         De cea sed , 302 6 Lij ke  Jam es
         Ter~ace, Ak ron , Oh
                                 io 443 12
                         Pl ain tif f,
                                                                    AFFIPAVIT
          vs.
          A.C . & S., IN C., et al.
                       De fen dan ts.


                                                          sw orn , acc ord ing to law ,
                    ROGER N. MILLER, bei ng du ly
                                                  s:
          upo n his oa th, dep O$ es and say
                                                                   Mi ne ral s, Inc . and
                    1.     I am the Pr esi de nt of Wi nds or
                                                                                       Inc .
              e  he  ld tha  t po sit ion sin  ce 1968 when Wi nds or Mi ne ral s,
          hav
          was fir st for me d.
                                                                  ndsor Mi ne ral s, Inc . is
                     2.    The ex clu siv e bu sin ess of Wi
                                                mi llin g of tal c fro m a sin gle
           and has bee n the mi nin g and
                  g  di str ict in  Wi  nds or,  Ve rm ont . In ad dit ion , Wi nds or
           mi nin
                                                 po rti on of its pro du ct to
           Mi ne ral s, Inc . als o se lls a
                                   tri al ~serS for ma nu fac tur
                                                                     ing pu rpo ses .
           ind epe  nd ent  ind us
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           WinQ$or Mi ner al$ , Inc . nev er
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           dis tri bu tor s or 8g ent s for




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Case      .. ....- -: .... _-._ ....
     2:11-cv-01754-BRM-AME       ...
                                     Document 370-4 Filed 11/02/17 Page 58 of 94 PageID: 13346
                                       Jow   ...... ,   __   ........... .


)I.,


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                  3.   :       Mine rals, Inc. has never sold any of its
                           Win~sor
                                                                      , Ohio.
          produ ct to the Gene ral Tire and Rubber Company in Akron
                                                                       any.
          or any othe r tire manu factu ring facil ity or rubbe r eomp
                  4.       ~ll    of the talc mined by Windsor Mine rals, Inc. has
          been   re9ul~rly       samp led and teste d for the prese nce of
          asbe stos.  No evide nce of the prese nce ot asbes tos in Windsor
                                                                     testi ng.
          Mine ral, Inc. '5 produ ct has ever been revea led by this




          Sworn to and subsc ribed
          befor e me this ~r~L~Lb~___
          day of July, 1988.




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                                                                                      BASF Fe 0014439
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                                        CAHILL GORDON      &   REINDEL

                                               1990 K STREET. N. W.•
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   'W'1Ul'U"5 :UP-aCT I);I4.L 1tVVJIU
       202-862-8941                                                      DeCtllWar 4, 1992

       1.                               Ra:     Tirework.r Litigation

             near TOD:
                       I enjoyed the opportunity to discuss the tireworker
             oas.s with you today. As I ~entioned on the phone, all t.sts ot
             EMTAL talo and surveys of the sole mine and Dill operated by
             Eastern Hagn •• ia Talc Company, looated in John.on, Vermont, have
             determined that the talc produoed from the Johnaon Din. contained
             DQ asbestos.   The Affidavit of Williaa H. Ashton, a copy of which
             I enclose for your reterenoe, aumaarize. thia evidenoe.
                       Pleas. call if you have any quastiona regarding the
             enclosed material.




             Thomas F. Martello, Euq.
             Miohael F. Colley Co., L.P.A.
             536 South High street
             Columbus, Ohio 43215
             [Enclosure]




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                                                                                                       BASF Fe 0003901
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                     APPENDIX A, TAB T
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 62 of 94 PageID: 13350



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  76000 PARI B, PR"NCf!




         (202) 862-8 941




                                                                                                 December 21, 1992

                           Re:   Cuyahoga Coun ty Tirew orker Actio ns

         Dear Mr. Economus:
                     To confi rm our telep hone conv ersat ion this after        noon ,
                                                                ber  31,   1992   to
         you have agree d to respo nd by Thur sday, Decem from five
                                                         issal
         Enge lhard Corp orati on's requ est for dism year. As you know,
         tirew orke r cases filed by your offic e this laint,        James v. ~
         Enge lhard 's answ er to the most recen t comp  1993.
         Corp ., is due the first    week of Janua  ry

                     Enge lhard was named in these cases solel y becau           se its
                                                          Comp  any   ("EN Tal")   alleg -
         form er subs idiar y, Easte rn Magn esia Talc          demo   nstra ted  in the
         edly sold talc to plain tiffs ' empl oyers    .    As
                                          docum  ents  forwa   rded  to   you  with  my
         vario us affid avits and other                           l from its sole
         previ ous corre spon denc e, talc produ ced by EMTa   no  asbe stos. The
         mine and mill in Johns   on,  Verm ont conta  ined
         alleg ed diagn osis of the plai ntiff in each or-th        e actio ns in
         which Enge lhard is named as a defen dant       is  an   asbe  stos- relat ed
         disea se, which cann ot be attri bute  d  to  EMTa  l  talc.

                     If you requ ire addi tiona l copie s of any of theas mate        ri-
                                                                   as soon        poss  i-
         als prev iousl y sent to you, pleas e let me knowfree         to  discu  ss this
         ble. If I am out of the offic e, pleas e feel




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     C.,uULL GOHDON & REINDEL


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      matter with Peter Sloane in our New York office, whose direct
      line is 212-701-3321. I look forward to hearing from you.

                                                  trulY(OUrS t




      Dale S. Econornus, Esq.
      Bevan & Economus
      10360 Northfield Road
      Northfield, Ohio 44067
      VIA FACSIMILE & MAIL




                                                                       BASF Fe 0000287
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.                                             CAHILL GORDON & REINDEL

                                                  1990 K STREET.}\ W.
                                                 WASHINOTON. D. C. 20006
        EIGHTY PIN£: STRtE"                         TElZPIION.E: ;oJOa·eaa·89QO            R"olo A~O CA.I,.£ AtJORCIU\Ca
         NEW yORK ..... Y,IOOOB                                                            ·CO'n'OJI'IIAHM WASHINOTON"
                                                                                             -ConOf'RAHK NEVrrTOA"o
                                                                                               "eonO~M       PARIS'
       19 A'\H" "R"'N~OI6 I"'"
       7B006 PARIS, FRANCE:                                                                F"CSIMILt" BOR-86!'6f;166


    "'IRITJ!R S DIRECT DIAL NUMD1:.R

      202-862-8941                                                                February 4, 1993

                                       Re:   CUyahoga county Tireworker Actions
             Dear Tom:
                          As you requested last month, I have prepared and ~
            enclosing notices of dismissal for your signature and filing
             regarding the dismissal of Engelhard Minerals & CheMicals Company
             from five recently-filed tireworker actions in Cuyahoga county,
            on the basis of our correspondence demonstrating that talc
            produced by Engelhard's former subsididary, Eastern Magnesia Talc
            company ("EMTal n ), contained no asbestos. I apologize for the
            delay in getting these documents tOiaSYtO;U1,~b~u~t~I~h~a~v~e~be~e=n~c~aU~g:h~t__-.
           J.OV- ..nor--ad. a lout of town for 1;he-..last    weeks.
                      As you probably already know, four of the five actions
            have been removed to federal court by Canadian defendants. The
            dismissals for these four actions should be filed with the clerk
            of the united States District Court for the Northern District of
            Ohio (the federal docket numbers are noted on the notices of
            dismissal) for entry by Judge Lambros, and a copy should be sent
            to Judge Charles R. Weiner of the United states District Court
            for the Eastern District of pennsylvania, as the cases have now
            entered the Multidistrict Litigation. I am informed by the clerk
            for the Cuyahoga County Court of Common Pleas that no notice of
            reMoval has been filed for the most recent case, Anthony James,
            and accordingly the notice of dismissal for that case should be
            filed in state court.
                             ,                      ormer distributor, C.P.
            Hall company, is named in these actions as well. If C.P. Hall is
            named 2nlY as a distributor of EMTal talc, then C.P. Hall should
            be dismissed as well. To the extent, however, that C.P. Hall is
            also named as a defendant for having sold or distributed other
            prodUcts to the plants at issue, I will understand C.P. Hall's
            continued presence in the litigation not to be attributable to
            sales or distribution of EMTal talc. Please let me know which of
            the above is the case.
                      Thank you again for your attention to these matters.
            Please return copies of the signed notices of dismissal in the




                                                                                                 BASF Fe 0004428
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j      CAHILL GORDON & REINDEL


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        enclosed self-addressed postpaid envelope, and call me directly
        if you have any questions. Best regards.




        Thomas W. Bevan, Esq.
        10360 Northfield Road
        Northfield, ohio 44067
        [Enclosures]
        VIA FEDERAl' EXPRESS




                                                                         BASF Fe 0004429
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        WR1T1!R'S DIRECT D1ALNVl!DER

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                                                                                                         e orker A tion
                                                                                                                                 February 22, 1993


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                Dear Tom:                                           ,!                     lY. '
                                                           1;                              ,~-;~..
                          I am pleased toiresponal):o .your letter dated February    ,
                11, 1993, concerning 4ism~s~al of['Engell\ard corporation f:rom five
                recently-filed actions. The FebrUary ,24,' 1950 letter you"
                                                           I
                enclosed should 'in no way Iaitery;our :previously expressed
                decision', to dismiss Engelhard from' the!le Cases.          '
                                                           , i               J                 I'.
                        " The companyj ref~r~nced iln t)l", 1950 ,correspondence is
                not our client, nor was iJ: owned/by our client. That company in
                fact operated several!mine~ in ~Waterbury and Johnson,                                                                                                                          ,'I
                Vennont" and the letter',dbes not {indicate from which of those                                                                                                                  :1
                locatipns workers may! hav~ Jbeen~'i!:.1ray,e'd, I do not know of ,any                                                                                                           '.
                follow-up study or publication,relating to workers at either of                                                                                                                  "
                those locations, and ;thatl dompailY'tis 'long' since defunct.                                                                                                                   ~I
                Regardless, Engelhard's iolimer'subsidiary operated !lli1.Y a                                                                                                               .'        ,'"
                Johnson" Vermont minEl, arid) in faCt", did not begin that mining
                and mil~ing operation untit sevepteenyears later, from October                                                                                                             ,}
                1967 until 1983,     )    J         'I'"
                                                       ,            I'
                                                                         I                 ,                                                                                               ."
                    ,       Beginning ~ith.lm§ fir~~ reqlles,~ for dismis~al last                                                                                                               :1
                Apr11, I sent your f1rm"voluminouE,l,mat",r1als concerm,ng the
                Johnson mine, In reachih91 your ~de.cision,'to dismiss Engelhard,
                your firm reviewed, inter alia;",jthe Affidavit of William H.                                                                                                               1/
   ..
   '            Ashton, which summar.~ze~:! !1um~~C?tt,s:- :in~esti9'ati?ns, ex;:unin'ations,
                and studies of the Johnsonj minel<:":·,The conclus10n der1ved from all
                                                                                                                                                                                            It
                                                                                                                                                                                            "



                of th,;,se studies is ~hat'I' t,n!> t,~'~c',l?roduced from this mine d~d not
                conta1n asbestos, The only ana~ys1S which we have not prev10usly                                                                                                           ~;

                forwarded to you is bne Qust co*pleted by the R', J. Lee Group
                which showed no evidence' eff asbestos minerals nor of their non-
                    ,                              ,            )    I                 •                                                  ,

                fibroUS analogs', and' found',the, talc to be 'a platy, non-fibrous
                variety,. I' shOuld a'dd that amot"j,'the:'witnesses we have 'retained
                on this point is, thEl, lea'ding geb,logist:in Vermont, who will also
                confirm these facts}; .... , I' ' ,. ,I:' :.. ,', ','
                                               "                ,I                ',! :              "
                                                                                                                                                                                          ,''
                          In sum, t~ere lis no "bksis fo~ maintaining Engelhard as
                a named defendant irt th.lsJ. :actiops,.r These plaintiffs allege
                injuries as a result ,6f:!,elqSosur'" to ,asb'estos and . "asbestos
                                    ! . ,!       ,;,) ~.   '
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Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 69 of 94 PageID: 13357
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           CAHILL GORDON'       REINDeL                                                                                                                                 >,'


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           produots" in the oours~ of :itlieir et)lployment. The plaintiffs' own                                                                                                   <t ',;i:,' ,,-
           diagnosing physioians do not·lattribute findings oompatible with . "t· ,'i/;,
           pneumoconiosis, if any,! or /any 'otli~r conditions, to'talc          !,·Ai .
           uncontaminated by asbestos. !Accordingl Y, EMTal talc is not a
           cause of :plaintiffs' alleged injuiies.
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                      Tom, I trust)that this l~tter addresses any questions                                                                                                                                                     '
           raised. by the 1950 cor~esP9n~eilceil' If you. still have concei:)\s or
           would like to discuss the' matter 'f,urther, please call me
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           directly.· Thanks agaltlfor your ',rttention tb this matter.
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           Thomas W. Bevan, Esq.
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           Bevan & Economus
           10360 Northfield
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           Northfield, ohio
           VIA FACSIMILE AND                                                                                  c-                                                                 ---'~-




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                     APPENDIX A, TAB W
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 71 of 94 PageID: 13359
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                     APPENDIX A, TAB X
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 75 of 94 PageID: 13363


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    FLOYD ABRAMS            MICHAEL MACRtS                                     JOSEPH P, CONWAY
    ROBERT A, ALESSt        JONATHAN 1, mark                                      DAVO R. HYDE:
    ROGER ANDRUS            GERARD M. MEtSTRELL                                 DEN^S MCINERNEY
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    PATRICIA PARREN         RICHARD J, SABELLA                                        COUNSEL
    JOAN HURT AON FRANKEL   JONATHAN A. SCHAFF2IN
                                                                               FREDDY ORESSEN*
    BART FRIEDMAN           H. RICHARD SCHUMACHER
                                                                               EUROPEAN COUNSEL
    CIRO A, GAMBON!         JOHN SCHUSTER
    WILLIAM B- GANNETT      LAURENCE A. SILVERMAN                           WASHINGTON, D.C, OFFICE
    CHARLES A, GILMAN       HOWARD G. SLOANE                                   tBBO K STREET, N.W,
    STEPHEN A. GREENE       LAURENCE T. SORKIN                             WASH^NGTON. D.C, £0000“M03
    ROBERT M. HALLMAN       LEONARD A. SPIVAK         October 25, 1996
    WILLIAM M, HARTNETT     GERALD S. TANENBAUM                                EUROPEAN office
    THOMAS R, JONES         JONATHAN D. THIER                                  JO RUE FRANCOIS
    ALLEN S. JOSLYN         MICHAEL P, TIERNEY                                75008 PARIS, FRANCE
    THOMAS J, KAVALER       ROBERT USADI
                                                                                  TELETX / CABLE
    LAWRENCE A, KOBRIN      GEORGE WAILAND
    IMMANUEL KOHN           GLENN J, WALDRIP, JR.                             MCI 23ZiaAATT 137066
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    EDWARD P. KRUGMAN       GARY W. WOLF
                                                                             facsimile
    GEOFFREY E, LtEBMANN    JOHN R, YOUNG
    WILLIAM T. LIFLAND      DANIEL J, ZUBKOFF                                 ^aomitted   trance only

                                                                            telephone     3I£'7QJ‘3000

                                                                            WRlTER^S DPRECT NUMBER


                                                                            (212) 701-3319



                             Re:    Hotta v. Whittaker, Clark & Daniels,
                                    et al,, No. 96-4434B


           Dear Robin:

                     I enjoyed speaking with you yesterday. As I stated,
           this firm represents Engelhard Corporation ("Engelhard"), which is
           named as a defendant in the above-referenced action which you
           recently filed in the Superior Court for Suffolk County. The com­
           plaint alleges the wrongful death of plaintiff's decedent Thomas
           Motta as a result of exposure to talc while he was employed at
           Plymouth Rubber Company.

                     Engelhard's only connection with the mining, milling, or
           sale of talc was through a subsidiary. Eastern Magnesia Talc Com­
           pany ("EMTal"), which operated a single mine in Johnson, Vermont
           from October 1967 until 1983, when the mine was closed for eco­
           nomic reasons. As we discussed, this letter is to request that
           you voluntarily dismiss Engelhard from this action, on the basis
           that talc produced by EMTal at its sole mine contained no asbestos
           and therefore could not have caused Mr. Motta's death.  I am
           enclosing the following documents supporting this request:




                                                                           BASF ROSS000013771
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 76 of 94 PageID: 13364


        Cahill Gordon 8c Reindel




                     (!)   a copy of an affidavit prepared by William H,
                           Ashton dated May 8, 1989, with attached Exhibits A
                           through G;

                     (2)   copies of affidavits by Charles D. Carter dated
                           September 20, 1988 and June 19, 1989;

                     (3)   a copy of a report prepared by Dr. F.D. Pooley con­
                           cerning an examination of talc samples taken from
                           the Johnson, Vermont mine; and

                     (4)   a copy of a B.F. Goodrich specification sheet for
                           EMTal 500 Talc dated November 10, 1978.

                  The Carter affidavits confirm that the Johnson talc mine
        was the only one ever owned or operated by Engelhard. The Ashton
        Affidavit summarizes numerous investigations, examinations, and
        studies of this Johnson mine. The conclusion derived from all of
        these studies is that the talc produced from the mine did not con­
        tain asbestos.  Indeed, a sample from the Johnson talc mine was
        analyzed in 1982 by Dr. Pooley, one of the world's foremost
        authorities on the identification of asbestos, using scanning
        electron microscopy and energy dispersive spectroscopy, as well as
        x-ray diffraction analysis and analytical transmission electron
        microscopy. The analysis revealed that no asbestos was present in
        the sample. See Ashton Affidavit paragraph 7 and Dr. Pooley's
        report.  Industry testing of the EMTal talc by B.F. Goodrich con­
        firms the incontrovertible findings of these experts: EMTal talc
        contained no asbestos.

                  Under the circumstances, there appears to be no basis
        for maintaining Engelhard as a defendant- in this action. There is
        no epidemiological evidence whatsoever linking pure talc,
        uncontaminated by asbestos, to metastatic lung cancer, the cause
        of Mr. Motta's death. Accordingly, I request that you voluntarily
        dismiss Engelhard in order that my client be spared further
        expense in defending this action.

                  There is substantial precedent for my request. For
        example, Engelhard and EMTal were named as defendants in 28 cases
        brought on behalf of former fireworkers at the B.F. Goodrich plant
        in Oaks, Pennsylvania and filed in the Eastern District of Penn­
        sylvania. The enclosed documents were provided to the Allen L.
        Rothenberg law firm in Philadelphia and were reviewed by plain­
        tiffs' expert, Dr. Arthur Rohl. After this review, plaintiffs’
        counsel Jeffrey C. Schwartz voluntarily dismissed Engelhard and
        EMTal from that litigation, EMTal has also been voluntarily




                                                                 BASF ROSS000013772
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        Cahill Gohhon & Reistdel


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         dismissed from tireworker and rubberworker litigation in, inter
         alia, the District of Kansas and various state courts in Michigan
         and Ohio. Those plaintiffs’ counsel had also been provided with
         the Ashton materials described above and pursued their actions
         against other talc and asbestos defendants.

                   I look forward to speaking with you further once your
         upcoming trial concludes and you have an opportunity to review the
         enclosed materials.  If any additional information would assist
         you in your decision, please call me directly.  Thank you again
         for your attention to this matter.




        Robin M. Welch, Esq.
        Thornton, Early & Haumes
        60 State Street, Sixth Floor
        Boston, Massachusetts 02109

         [Enclosures}

        VIA FEDERAL EXPRESS




                                                                BASF ROSS000013773
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 78 of 94 PageID: 13366




                     APPENDIX A, TAB Y
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 79 of 94 PageID: 13367
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                                                      February 19, 2002


           Quentin Daniels
           Daniels and Gentry, PLLC
           P.O. Box 55848
           Jackson, MS 39296-5848

                   RE:       Engelhard Corporation

           Dear Quentin:


                   Please allow this correspondence to serve a.~ a response to your inquiries relating to Engel-
           hard Corporation ("Engelhard") in connection with the Holmes litigation. Pursuant to our telephone
           conversation and our previous dealings, it is my understanding that you have agreed to treat this in-
           fonnation as confidential and utilize it solely for the purpose of a Rule I I investigation into the va-
           lidity of filing an asbestos-related complaint against Engelhard.

                    Engelhard, as in the past, appreciates the opportunity to respond to the two matters you have
           raised in your conversation \vith me. The first matter concerns the possibility that Engelhard manu-
           factured asbestos-containing thixotropic fillers and the second concerns an allegation that talc mined
           a number of years ago by an Engelhard subsidiary was "serpentine,n i.e., contained asbestos. Based
           on our review of relevant documents and discussions with Engelhard personnel, we can reiterate
           categorically what was said in my July 27. 2001 letter to you: neither Engelhard nor any of its
           predecessor companies or subsidiaries ever manufactured any asbestos-containing products. Spe-
           cifically. (i) Engelhard does not now and did not in the past manufacture an asbestos-containing
           thixotropic filler and (ii) the talc mined and distributed for a short period oftime by an Engelhard
           subsidiary did not. according to numerous analyses. reports and studies, contain asbestos.

                                                     Thixotropic Fillers

                   You mentioned that you have no infonnation timt Engelhard manufactured thixotropic fill-
           ers, but that you believed that Engelhard was the type of company that might manufacture these
           products. and that some thixotropic fillers. to your knowledge. contained asbestos.




                                                                                                       BASF Fe 0016806
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 80 of 94 PageID: 13368




         You asked for confitmation that Engelhard did not manufacture any asbestos-containing thixotropic
         fillers. This leiter serves to provide this confinnation.

                 Engelhard does not now, and as can best be detetmined, has not ever manufactured a
         "thixotropic filler." At present, Engelhard mines and manufactures attapulgite which is used in in-
         dustrial processes as a thickener. However, attapuigie, as is true of all products currently, and in the
         past, mined, manufactured or produced by Engelhard and its predecessors and subsidiaries, does not
         contain asbestos or asbestos-like fibers nor has attapulgite ever been connected to or associated with
         any asbestos-related disease.

                 In short, I believe Engelhard can confitm, as you requested, that it does not now, and has not
         in the past, manufactured or produced an asbestos-containing thixotropic filler.



                You forwarded to me an excerpt from the 1973-1974 Modem Plastics Encyclopedia which
        lists Emtal, the trade name for talc produced and distributed for a short period oftime by Eastern
        Magnesia Talc Co., a fotmer subsidiary of Engelhard. This one-line listing appears to indicate that
        the Emtal talc was "serpentine".

                We previously sent to you, as an enclosure to my July 27, 2001 leiter to you, a copy of an af-
        fidavit prepared in May 1989 by William Ashton, who for thirty-five years was actively involved in
        investigating and studying the domestic and international talc industry and talc technology while
        ernployed by Johnson & Johnson. Mr. Aston, after referring to and discussing in his affidavit nu-
        merous investigations, examinations and studies of Emtal talc, concluded that "[I]rom the 1940's
        through the 1980's [the affidavit is dated May 8, 1989], talc mined in Vetmont and specifically the
        talc mined by Engelhard Corporation (and its predecessors) from the talc mine located in Johnson,
        Vermont [a single mine that was Engelhard's only source of talc] has been considered to be talc free
        from contamination from asbestos." (See Ashford Affidavit, '112)

                Indeed, one of the studies described in the Ashford Affidavit occurred at almost the same
        time as the pUblication of the 1973-1974 Modem Plastics Encyclopedia. A scientific paper entitled,
        "Occupational Exposures to Non-Asbestiform Talc in Vetmon!," reported on an environmental
        study that was conducted during the summer of 1975 and the winter of 1976 of three Vetmont talc
        companies, including Eastern Magnesia Talc and its Johnson, Vermont mine. The paper concluded
        that "petrograpic microscopy analysis, analytical transmission electron microscopy, and x-ray de-
        fraction with step-scanning revealed no asbestos in the bulk samples" (emphasis added) from the
        three Vermont companies. (See ~ 6 and Exhibit D ofthe Ashford Affidavit).

               In addition, the Ashton Affidavit recounts sworn testimony in a lawsuit by Dr. Alfred H.
        Chidester who had been employed for 39 years by the U.S. Geological Survey, a unit of the U.S.
        Department of the Interior. For a period of about 18 years, from 1944 through 1962, Dr. Chidester
        was primarily concerned with the talc deposits ofVennont and Northern Massachusetts. (See Ash-

                                                                                                              2




                                                                                                    BASF Fe 0016807
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        ford Affidavit, '\]4). In testil)ing in 1983, Dr. Chidester stated that he never found veins of chry-
        solite asbestos in talc located in Vennont. He acknowledged that crysotile was a serpentine mineral
        found in serpentinite rock, but that, in the formation of talc in Vennont, all of the serpentine miner-
        als had been changed to talc. He concluded: "So any asbestos that may have been there in the first
        place is altered to talc." Dr. Chidester further testified that he personally had been at the talc mine
        in Johnson, Vennont and, based on his personal observation and testing, all of the serpentinite at the
        Johnson mine had been changed to talc and magnesite. ~ Ashford Affidavit, '118 and Ex. G)
        Thus, at the Jolmson, Vennont mine, which was the only talc mine ever operated by Engelhard or
        any of its subsidiaries, and in Vennont in general, talc and serpentine are mutually exclusive. a

                 I believe this letter answers your inquiries as to thixotropic fillers and talc formerly mined by
        Engelhard. It reiterates the statement in my July 27,2001 letter that neither Engelhard nor its prede-
        cessors or subsidiaries ever manufactured an asbestos-containing product. As a result, we believe
        that there cannot be any good faith basis for Engelhard to remain as a defendant in the Holmes law-
        suit or to be named a defendant in any new lawsuits by plaintiffs claiming exposure to asbestos.

                As always, I am available, by telephone and in person, to answer any question you may have
        pertaining to this correspondence or to provide any further information or documents that may be
        appropriate. As noted, Engelhard very much appreciates the opportunity to respond to the questions
        you have raised. We look forward to hearing from you soon.

                                        Sincerely,

                                        FORMAN, PERRY, WATKINS, KRUTZ & TARDY, PLLC




        CC:    Fred Krutz



        n      You should also note that one of the analyses of Engelhard's talc that is referred to in the Ashford
               Affidavit is by Dr. F. W. Pooley of the University of Cardiff in Wales, England, whom you may be
               aware has provided expert opinions and testimony to plaintiffs in a large number of asbestos-related
               lawsuits. (See ~ 7 of the Ashford Affidavit and the analysis by Dr. Pooley, a copy of which is en-
               closed.)


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Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 82 of 94 PageID: 13370




                     APPENDIX A, TAB Z
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 83 of 94 PageID: 13371
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                                                    April 15, 2C02


                         Rs: ChernIck    v, ABa Lummus Globaltlno:, lit al.llnd&)( No.           01-116741

          DaarMarli::

                        In our recent se~lement conference with thlil $p~lld M3$ter In the
         referenced mQtt,r we agre!!d 10 provide to your offie. documents we are aware of that
         O$tabllsh that the talc engalhard Corporation [MEnge/hard") or any of lUI present 01
         former eube/diaries allegedly aold to Bondo COrp¢ratlon was $$beetos·free. Enclosed
         with thi8 letter ,are such documents, whloh are explaIned ~elow.

                       The only tala mine ev8I' operated by Engellhard Qr Its ~ub$fdrarlllS WtAS
         operated In Johnson, Vermont by the I':llstom Magnesia Talo Compsny j"'EMTal"), a
         fermer $ubsfdillry ot Engelhard. EMl'al (now known as PIta RMlty Lfmlted) produced
         talc from the Johnson mille from October 191'17, when EMTal ecquired the rnint!l, until
         1983. when the miM Was closed for eoonornlc reasona.

                     A number of ana lYles of tha talc ptodUOed by tha Johnson mine havo
        be(!n oonducted. All of them concluded that the t~o WI)!) a$be$tQa·free. The enclosed
        Affidavit of William 1:1. Ashton, dated Maya. 1989 (with ftttaehed Exhibits A • G),
        summarizes many of the iIW$$llgltions, examinatlonlf <Ina studies •. All .of thClm
        concluded that the talc produoed from the J~hn"an mine did not contain asbestos.

                      Alao enolQ$O<i I" 1\11 copy of s D":>Iffi'\bf:lr .2.2, 1982 r.. port by Dr. I'!.O.
        Pooley, entitled Report of the EXtlmln4r1on af Talc Samples from the Johnson TtJ/c
        Mfns. This study analyzed 8 semple from thlll Johnson mine I,l$inra $~nnlng Elec1rQn
        Mlcrosoopy, Energy DispersiVe Sptotr0300PY; x-ray diffraction analysla, and analytIcal
        Tramlm/osion Eleotron Microscopy ("TEM-). The study concluded that no lIsbestos
        was present In the sample.
                     Finally, we have !:Inclolled II oopy of II May 1977 report prllpllred by the
       National InBtitUte10r OCllupatiooal Safety and Health, entitled An8/y$/$ of T(1/r; by X-
       Roy DiffflJctlon ~nd Pollitt/ted light Mic((,l$coPY. This report analyzed 100 talc,
       samples, Includlng a sample of EMTal telG, using Polarized Ught Mioroscopy,
        OI~p~"lon   StainIng, x-n!lY CllrtftJOt'OIl, TEM, <Inti "'l'I'trOn mloroprob",. 't'h'" l>rH"y~11J .. ,
       th<:/ sample of EMTal talc fOl,lno no a$bl!$tos. (Soe NIOSH Report, AppendIx A, page




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Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 84 of 94 PageID: 13372                                      ,
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         SS, Sample No. 066.,
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              .           Given the forogoing, there appears to. be no b~$l$ for your o\lents to
         aSsert clallTlll lI"ain~ EngfJIhllrq. We h8r~y request that you qlsmlss Engelhard from
         thi$ action. We look forwili'd to "peaking wIth ¥o/J again at the upcomIng sottloment
         OQnf.,ren'oo.                   ' .                                              .    ,

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        £tally & StrauSS, LLC
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Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 85 of 94 PageID: 13373




                    APPENDIX A, TAB AA
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 86 of 94 PageID: 13374


       r '"                   MONTGOMERY, MCCRACKEN, WALKER & RHOADS, LL
                                                           ATTORNEYS AT LAW


  ~   FRANCIS PATRICK NEWELL                          123 SOUTH BROAD STREET                                                      l:
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              fnewell@mmwr.com                                                                                          302-504-7800
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                                                                                                                              610-889-2210
                                                                                                                            FAX 610·889-2220



                                                                      November 18,2003


          VIA FACSIMILE & U.S. MAIL

          Signe O'Brien Rudberg, Esquire
          Rudberg Law Offices
          1105 E. Carson Street
          Pittsburgh, P A 15203

                    Re:       Berdine, et a1. vs. Bakertalc, Inc. et al.
                              Washington County, Pennsylvania
                              Court of Common Pleas, G.D. No. 2003-4209

         Dear Ms. Rudberg:

                       Thank you for setting aside the time today to speak with me concerning the status
         of defendant Eastern Magnesia Talc Company, Inc. ("EMTal") with respect to the above-
         captioned matter (the "litigation").

                    As we discussed at some length, based upon the extensive materials that have been sent
         to you, EMTal believes that, as in many previous cases, it should be dismissed from the
         litigation, and plaintiffs have agreed to continue to take that request under consideration.

                 With respect to the discovery which has been served by plaintiffs upon EMTal. this will
         serve to confinn that plaintiffs have agreed that EMTal has an indefinite extension of time to
         object and/or respond.

                 I look forward to speaking with you after you have had further time to consider EMTal's
         request to be dismissed from the litigation.




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                                                                                                                                               BASF Fe 0012094



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Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 87 of 94 PageID: 13375


  MONTGOMERY, MCCRACKEN, WALKER & RHOADS, LlP




    Signe O'Brien Rudberg, Esquire
  - November 18, 2003
    Page 2


                 Thank you for your courtesies in this matter

                                                      Very truly yours,


                                               Ld-,2- Francis Patrick Newell


  e    FPN:jfy




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                                                                                           BASF Fe 0012095



                                                                               BASF_SAMPSON000015048
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 88 of 94 PageID: 13376


  MQ-NTGOMERY, MCCRACKEN, WALKER & RHOADS, LLP




    Signe O'Brien Rudberg, Esquire
  . November 18, 2003
    Page 3


       bee:       Howard G. Sloane, Esquire
                  Michael Sullivan, Esquire
                  Michael Hassett, Esquire




      978601 vI




                                                                         BASF Fe 0012096



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                    APPENDIX A, TAB BB
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                                                                                      Suite 200
        Littleton Joyce                                                               Red Bank, NJ 0770I
          Ugh ETTA Park & Kelly llp                                                   Tel,(732) 933-2727
                         NEW YORK CITY | PURCHASE, NY | RED BANK, NJ                  Fax-(732) 933-2729
                                                                                      WWW, liUkionj^'Ce. com

        Direct Dial: (732) 933-2730
        robert.kellv@littretoniovce.coin

                                                  March 28, 2008

        Rachel A. Placitella, Esq.
        Cohen, Placitella & Roth, P.C.
        127 Maple Avenue
        Red Bank, NJ 07701

                Re:      Angeline Comandini vs. Asbestos Corporation Limited, et als
                         Docket Nos.          ;       MID-L-4398-07 AS
                         Our File No.         :       08951.00005
                         Vivian Volk vs. Asbestos Corporation Limited, et als
                         Docket Nos.            :     MlD-L-10012-07 AS
                         Our File No.                  :      08951.00004
                         Joanne Fuschino, ,et al. vs. Asbestos Corporation Limited, et als
                         Docket Nbs             :     ME)-^KlC899-07 AS
                         Our File No.           :     08951.00006                         ,


        Dear Ms. Placitella:

                As you are aware, this office represents Defendants Eastern'Magnesia Talc (“BMTAL”)
       (now known as Pita Realty Ltd.) and BASF Cataiysts- LLC {“BASF”) in the above referenced
       matters. Enclosed herewith, are the various Notices of Adoption of the Standard Answer recently
       filed on behalf of our clients. As set forth in the pleadings and in further detail below, EMTAL
       and BASF did not manufacture asbestos-containing talc. Accordingly, we hereby request that the
       plaintiffs voluntarily dismiss with prejudice their complaint against our clients.

                 Attached hereto is an Affidavit fiom William H. Ashton that sets forth the history of the
         Vermont talc mines and more specifically,- the history of the talc mined by Englehard
       ’ Coiporation (and its predecessors) from the talc mine located in Johnson, Vermont (the “Johnson
         mine”). As set forth in Mr. Ashton’s Affidavit, after numerous investigations, examinations and
         studies of the Johnson mine, spanning more than, fifty (50) years, it has been conclusively
         established that the talc from the Johnson mine does not contain asbestos. As such, there is no
         reasonable basis to support proceeding with the plaintiffs’ claims against EMTAL and BASF.

              Pursuant to R. 1:4-8 and N.J.SvA. 2A'.T'5^59.'l. we. hereby demand that the complaints be
       voluntarily dismissed because, based on the foregoing, the allegations against EMTAL and
       BASF are frivolous. If the plaintiffs fail to comply with this, request within twenty eight (28)
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        Our File No,:   08951.00006
        Page 2


        days of sei-vice of this letter, we shall seek all available remedies under New Jersey Frivolous
        Litigation Rule and Statute.

               Thank you for your anticipated attempt and prompt response.

                                               Very truly yours,


                         LITTLETON JOYCE UGHETTA PARK & KELLY LLP


                                                Robert J. Kelly              j

       RJK:JS
       Enclosures




       Littleton Joyce Ughetta Park & Kelly                llp
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                    APPENDIX A, TAB CC
Case 2:11-cv-01754-BRM-AME Document 370-4 Filed 11/02/17 Page 93 of 94 PageID: 13381




                                                                                            Jennifer A. Riester
                                                                                                 216.687.3271
                                                                                    JRiester((/)westonhurd.com



     November 12,2008



     John Mismas, Esq.
     Bevan & Associates
     10360 Northfield Rd.
     Northfield, OH 44067

     Re:    Jennifer Graham v. Eastern Magnesia Talc
            Cuyahoga County Common Pleas Case No. 656405
            Russell Young v. Eastern Magnesia Talc
            Cuyahoga County Common Pleas Case No. 531764

     Dear John:

     This letter is in response to the discovery requests served in the above captioned cases. The
     discovery requests are not properly directed to the supplier oftalc. In lieu of providing objections to
     the discovery I am enclosing document relative to my client's talc. I would ask that you voluntarily
     dismiss Eastern Magnesia Talc and, in the Young case, both Eastern Magnesia Talc and Engelhard
     Corporation from these cases on the basis that talc produced by EMTal contained no asbestos.

     EMTal operated a single talc mine in Johnson, Vermont between October 1967 and 1983. The
     following documents enclosed herewith support this request:

                     1) A copy of an Affidavit prepared by William H. Ashton dated
                        May 8, 1989, with attached Exhibits A through G;

                    2) A copy ofa report prepared by Dr. F.D. Pooley concerning an
                       examination of talc samples taken from the Johnson, Vermont
                       mine;

                    3) A copy ofa 1977 NIOSH study entitled "Analysis of Talc By
                       X-Ray Diffraction and Polorized Light Microscopy"; and




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     John Mismas, Esq.
     November 12, 2008
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                    4) A copy of a letter from RJ Lee Group, Inc. dated January 27,
                       1993 reporting the results of their analysis of a sample of
                       EMTal talc.

     Be advised that EMTal's (and, accordingly, Engelhard's) only talc mine was located in Johnson,
     Vermont, and that EMTal produced talc from that mine from October 1967, when EMTal acquired
     the mine, until 1983, when the mine was closed for economic reasons. The Affidavit of William H.
     Ashton summarizes numerous investigations, examinations, and studies ofthe Johnson mine. The
     conclusion derived from all ofthese studies is that the talc produced from this mine did not contain
     asbestos. A sample from the Johnson mine was analyzed in 1982 using Scanning Electron
     Microscopy ("SEM") and Energy Dispersive Spectroscopy ("EDS), as well as x-ray diffraction
     analysis and analytical Transmission Electron Microscopy ("TEM"). The analysis revealed that no
     asbestos was present in the sample. (See Ashton Affidavit paragraph 7.) In addition, the 1977
     NIOSH study analyzed 100 talc samples, including a sample of EMTal talc, by Polorized Light
     Microscopy ("PLM"), Dispersion Staining, X -ray Diffraction, TEM and Electron Microprobe. The
     analysis of the sample of EMTal talc found no asbestos present. (See NIOSH Report, Appendix A,
     page 38, Sample No. 066.) Furthermore, RJ Lee performed an analysis of a sample ofEMTal talc
     by PLM, X-ray Diffraction, and TEM, from which RJ Lee concluded that no asbestos was present in
     EMTal talc nor the non-fibrous analogs of the asbestos minerals. (See RJ Lee Group letter.)

     Engelhard and EMTal have been named as defendants and subsequently dismissed voluntarily as a
     result of the enclosed materials in various jurisdictions including Arkansas (4 plaintiffs), Kansas
     (191 plaintiffs), Michigan (40 plaintiffs), Mississippi (31 plaintiffs), Pennsylvania (over 300
     plaintiffs) and most recently, Florida (1 plaintiff). In fact, in the Pennsylvania cases, the voluntary
     dismissal of Engelhard and EMTal came as the result of the review of similar materials not only by
     plaintiffs' counsel (Allen L. Rothenberg law firm in Philadelphia), but also their expert, Dr. Arthur
     Roh!.

     I look forward to speaking with you once you have had an opportunity to review the enclosed
     materials. If any additional information would assist you in your decision, please contact me
     directly.

     Very truly yours,




     Jennifer A. Riester

     JAR/drs
     enclosure




                                                                                 BASF_SAMPSON000002047
